      Case 1:23-cv-06418-JGLC           Document 161        Filed 11/19/24      Page 1 of 3




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November 12, 2024

VIA EMAIL - submitted in camera

The Honorable Jessica G. L. Clarke
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 20C
New York, New York 10007

       Re:     Doe v. Black, Case No. 1:23-cv-06418-JGLC

We represent Plaintiff Jane Doe (“Plaintiff” or “Ms. Doe”) in the above-captioned matter. We
write in connection with Your Honor’s order of November 8, 2024 (ECF 153), directing Plaintiff
to submit to the Court additional information regarding her Twitter account.

I.     Mr. Black’s Prior Claims Regarding Ms. Doe’s Twitter Account
Defendant Leon Black (“Mr. Black”) claimed that starting in July 2022, Ms. Doe began posting
and speaking on Twitter about having been trafficked and abused by Jeffrey Epstein and his
associates. ECF 117 at 6. These posts supposedly included hashtags such as “#Epstein” and
“#JeffreyEpstein.” Id. Although Ms. Doe deleted her account in approximately May 2023, Mr.
Black claims that he has unearthed several posts in which Ms. Doe identifies herself as a victim of
Jeffrey Epstein. Id. at 7. He does not claim that any of these posts mention or refer to Mr. Black
in any way.
According to Mr. Black’s private investigator, two separate Twitter users—Twitter User 1 and
Twitter User 2—“met Ms. Doe through social media and interacted with Ms. Doe both on social
media and offline.” ECF 120 at ¶¶ 9, 11. According to the investigator, Twitter User 1 stated that
sometime in fall 2022, Ms. Doe identified herself as a victim of Jeffrey Epstein in a number of live
video chats called Twitter Spaces from fall 2022 to April 2023. Id. ¶ 10. There is no allegation
that Ms. Doe mentioned Leon Black’s name or this litigation during these Twitter Spaces or in
conversations with Twitter User 1. Mr. Black’s investigator further states that Ms. Doe relayed to
Twitter User 2 “and another individual specific allegations about Mr. Black, using his name, that
were substantially similar, if not identical to those in the Complaint in this action.” Id. at ¶ 12.
Mr. Black’s investigator provides no further detail, such as when or where Ms. Doe supposedly
made these statements and does not suggest such communications were made publicly on Twitter
(as opposed to in a private conversation). Nor does he indicate who the third individual was. In
his memorandum of law in support of his Motion to Disclose Plaintiff’s name, he represents that
these conversations were via text message. ECF 117 at 8.
      Case 1:23-cv-06418-JGLC          Document 161        Filed 11/19/24     Page 2 of 3

                                                                        Hon. Jessica G. L. Clarke
                                                                             November 12, 2024
                                                                                           Page 2


At the Initial Pre-Trial Conference held before Your Honor on November 7, attorneys for Mr.
Black again reiterated their position that there are Twitter direct messages between Ms. Doe and
two other individuals that refer to Mr. Black. Counsel for Ms. Doe is unaware of any such
communications, but shared information with the Court regarding the knowledge counsel does
have of communications between Ms. Doe and others regarding Mr. Epstein, and offered to share
those communications with the Court.
II.    Attached Evidence Contradicting Mr. Black’s Claims
We are attaching several documents contradicting Mr. Black’s claims about the nature of Ms.
Doe’s communications with others and her use of her now-deactivated Twitter account. Because
Ms. Doe deactivated her Twitter account in May 2023, we only have access to what Ms. Doe has
saved on her phone. We believe there may be more messages from individuals she met via Twitter,
but nothing we have seen mentions Mr. Black and we do not believe her communications ever
concerned him or this litigation.
The documents attached hereto include:
•      Messages between Ms. Doe and Natalie Jacoby, the woman we believe set up the “Twitter
       Spaces” mentioned in Mr. Black’s submissions, and further tried to get Ms. Doe to speak
       on various podcasts 1;
•      A screenshot showing multiple men engaged in direct messages with Ms. Doe following
       her appearance on Ms. Jacoby’s Twitter Spaces;
•      Messages between Ms. Doe and certain men who reached out to her via direct message,
       including:

       o       One man who commented following Ms. Doe’s appearance on Twitter
               Spaces, acknowledging that it was Ms. Jacoby’s “space” and sending Ms.
               Doe “love.” We understand that this man also later publicly posted pictures
               of Ms. Doe on Twitter.

       o       One man, who we believe is over the age of 70, who posted publicly about
               Ms. Doe, referring to her as his “daughter.” This same man repeatedly called
               Ms. Doe and left disturbing messages and voicemails, which we also share
               with the Court.

       o       Another man who mentioned both Ms. Doe and her adoptive mother by name
               in his Tweets.


1
       We understand that Ms. Jacoby has now completely deleted and deactivated her Twitter
account, so we are unable to locate anything substantiating Black’s claims concerning the “Twitter
Spaces” Ms. Doe participated in.
      Case 1:23-cv-06418-JGLC           Document 161        Filed 11/19/24    Page 3 of 3

                                                                        Hon. Jessica G. L. Clarke
                                                                             November 12, 2024
                                                                                           Page 3


Once Ms. Doe’s adoptive mother learned about these interactions, she consulted with a lawyer to
consider sending a cease-and-desist letter to Natalie Jacoby, the woman who enticed Ms. Doe to
speak on Twitter Spaces, and her mother further worked with a professional by the name of
            a specialist for adults with developmental disabilities, to draft a “safety protocol”
concerning any further use of Twitter by Ms. Doe. Given the nature of the interactions she had
with individuals as a result of her presence on Twitter, as evidenced by our submissions to the
Court, Ms. Doe deactivated her account. We attach a copy of the draft safety protocol here as well
which identifies how her developmental disabilities made social media an especially difficult
medium to navigate.

As made clear in these materials, Ms. Doe never discussed Mr. Black with any of these individuals,
nor did she post anything publicly on Twitter regarding this case or Mr. Black.

We thank the Court for its time and attention to this matter.

Respectfully submitted,


Jeanne M. Christensen
